                                 Case 16-11236-BLS                   Doc 1        Filed 05/18/16             Page 1 of 43



 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                       Chapter     T-"!
                                                                                                                          □ Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                             Code Rebel Corporation
2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names
                                   d/b/aCode Rebel LLC,                 d/b/a ThinOps Resources LLC
3.   Debtor's federal
     Employer Identification
     Number (EIN)
                                                   XX-XXXXXXX
4.   Debtor's address              Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business
                                    77 Ho'okele Street Unit 102
                                    Kahului, Hi 96732
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                       Maui                                                       Location of principal assets, if different from principal
                                   County                                                         place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)                 www.coderebel.com

6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   □ Partnership (excluding LLP)
                                   □ Other. Specify:    __________________________________________________________




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                       Case 16-11236-BLS                  Doc 1          Filed 05/18/16              Page 2 of 43

 Debtor             Code Rebel Corporation                                                               Case number (if known)
           Name


7.    Describe debtor's business A. Check one:
                                         □ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         □ Railroad (as defined in 11 U.S.C. § 101(44))
                                         □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                         B. Check all that apply
                                         □ Tax-exempt entity (as described in 26 U.S.C. §501)
                                         □ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         □ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.aov/four-diqit-national-association-naics-codes.
                                                   541511
8.   Under which chapter of the          Check one:
     dB.,SSS5°‘""*me                    Vcd.p.e,7
                                         □ Chapter 9
                                        □ Chapter 11. Check all that apply:
                                                             □     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             □     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                             □     A plan is being filed with this petition.
                                                             □     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                             □     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                             □     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        □ Chapter 12



9.   Were prior bankruptcy              ^lo.
     cases filed by or against
     the debtor within the last 8       □ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                   When                              Case number
                                                 District                                   When                              Case number

10. Are any bankruptcy cases -J^Thin
    pending or being filed by a ”
    business partner or an      D Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                   When                             Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 16-11236-BLS                      Doc 1         Filed 05/18/16               Page 3 of 43

Debtor              Code Rebel Corporation                                                           Case number (if known)
          Name


11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                □         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           lo
    have possession of any
    real property or personal   □ yes.        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                              □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                              □ It needs to be physically secured or protected from the weather.
                                              □ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                              □ Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                              □ No
                                              □ Yes.     Insurance agency
                                                        Contact name
                                                        Phone


         Statistical and administrative information

13. Debtor's estimation of                 Check one:
    available funds
                                           Hr Funds will be available for distribution to unsecured creditors.
                                           □ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49
                                    '                                              □ 1,000-5,000                               □ 25,001-50,000
    creditors                   _ 50-99                                            □ 5001-10,000                               □ 50,001-100,000
                                □ 100-199                                          □ 10,001-25,000                             □ More than100,000
                                □ 200-999

15. Estimated Assets            Lr$o - $50,000                                     □   $1,000,001 -$10 million                 □   $500,000,001 - $1 billion
                                □ $50,001 -$100,000                                □   $10,000,001 - $50 million               □   $1,000,000,001 -$10 billion
                                □ $100,001 -$500,000                               □   $50,000,001 - $100 million              □   $10,000,000,001 - $50 billion
                                □ $500,001 - $1 million                            □   $100,000,001 - $500 million             □   More than $50 billion

16. Estimated liabilities       □ $0 - $50,000                                     □   $1,000,001 - $10 million                □   $500,000,001 - $1 billion
                                □ $50,001 -$100,000                                □   $10,000,001 - $50 million               □   $1,000,000,001 - $10 billion
                                  $100,001 -$500,000                               □   $50,000,001 - $100 million              □   $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                            □   $100,000,001 - $500 million             □   More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                                 Case 16-11236-BLS                     Doc 1        Filed 05/18/16                 Page 4 of 43

Debtor              Coda Rftbftl Corporation                                                       Case number (if known)
          Name


          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed                  .05/18/2016
                                                  MM/         / YYYY


                             X                                                                                         Arben Kane
                                 Signature of authorized representative of debjj)   R)                         Printed name

                                 ■Title     CEO




18. Signature of attorney    ^                                                                                  Date    Ut ijt&lia
                                 Signature of attorney for debtor                                                      mmXdd/yyyy
                                                 __(ritA-SXVg_______________
                                 Printed name                  1
                                 _t'vc.V' .                                             L-l—f)
                                 Firm name             *


                                 Number, Street, City, State & ZIP Code                                    '


                                 Contact phone     7,| 2- ^         ^ 2.-~l ty<3ZEmail address       \s\                      Itcrr^L.
                                 .Li'2>£^LtlLl__
                                 Bar number and State *
                                                        nY________
                                                         *




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                    Case 16-11236-BLS                       Doc 1         Filed 05/18/16       Page 5 of 43




     Fill in this information to identify the case:

     Debtor name

 ; United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

 i Case number (if known)
 !                                                                                                                              □ Check if this is an
                                                                                                                                  amended filing


 Official Form 202
     Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1519, and 3571.



                  Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
          Igjf     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Bljr    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          HfV      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          If       Schedule H: Codebtors (Official Form 206H)
                   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          □        Amended Schedule
          □        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
          □        Other document that requires a declaration                _____

          I declare under penalty of perjury that the foregoing is true and correct.

          Executed on             05/18/2016
                                                                       gnatufemf individual signing on

                                                                                 Arb@n Kane
                                                                     Prihtedname^

                                                                                        CEO
                                                                     Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                   Case 16-11236-BLS                     Doc 1       Filed 05/18/16            Page 6 of 43


    Fill in this information to identify the case:

    Debtor name
                           Code Rebel Corporation----------
    United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

    Case number (if known)
                                                                                                                          □ Check if this is an
I
                                                                                                                            amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                           12/15

    Part 1:    Summary of Assets


    1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

         1a. Real property:
             Copy line 88 from Schedule A/B.                                                                                   $           0
         1b. Total personal property:
             Copy line 91A from Schedule A/B.                                                                                  $           11.245.778.92
         1c. Total of all property:
             Copy line 92 from Schedule A/B.                                                                                   s 11,245,778.92

    Part 2:   Summary of Liabilities


    2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.                          $     0

    3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         3a. Total claim amounts of priority unsecured claims:
             Copy the total claims from Part 1 from line 5a of Schedule E/F.                                                   S .__0
         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.                                  +$__ 859,656.03
                                                                                                                                                          '!
    4.   Total liabilities..
         Lines 2 + 3a + 3b                                                                                                 $       859,656.03              !




    Official Form 206Sum                               Summary of Assets and Liabilities for Non-Individuals                                    page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                                  Case 16-11236-BLS                    Doc 1       Filed 05/18/16             Page 7 of 43


 Fill In this information to identify the case:

 Debtor name              Code Rebel Corporation______
i United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 □ Check if this is an
                                                                                                                                   amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      □ bio. Go to Part 2.
      -^Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand
                                                 N/A

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)

            Name of institution (bank or brokerage firm)                  Type of account                    Last 4 digits of account
                                                                                                             number
            3.1.      see exhibit [ A]



4.          Other cash equivalents (Identify all)



            4.1.         Code Rebel Paypal Accounts Receivable account                                                      $1,256.97


 5.         Total of Part 1.                                                                                                            _$29,977.67
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      □ No. Go to Part 3.
      OrYes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits

            Description, including name of holder of deposit
            7.1.                       N/A


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2016 Best Case, LLC-www.bestcase.com                                                                                Best Case Bankruptcy
                                   Case 16-11236-BLS                     Doc 1      Filed 05/18/16             Page 8 of 43


 Debtor
                Name
                            Code Rebel Corporation                                             Case number (if known)



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

            Description, including name of holder of prepayment
            8,1.             See Exhibit [B]                                                                                      $46,212.17


 9.        Total of Part 2.
           Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                $46,212.17
                                                                                                                            L
 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       ?No. Go to Part 4.
       Yes Fill in the information below.

 11.       Accounts receivable

            11a. 90 days old or less:                                                                                 :=
                                                    $48,207.90                                0                                      $48,207.90
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                                   $29.50 -              $29.50                                         $0
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                            $48,207.90
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:    Investments
13. Does the debtor own any investments?

 ^Tno. Go to Part 5.
  □ Yes Fill in the information below.

                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest


 14.        Mutual funds or publicly traded stocks not included in Part 1

            Name of fund or stock:


            14.1.



 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture

            Name of entity:                                                         % of ownership


            15.1.                                                                                 %



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

            Describe:

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                  Case 16-11236-BLS                      Doc 1    Filed 05/18/16         Page 9 of 43



 Debtor                 Code Rebel Corporation                                              Case number (if known)
                Name


            Describe:


            16.1.




 17.       Total of Part 4.
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:    Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.

           General description                      Date of the last        Net book value of      Valuation method used   Current value of
                                                    physical inventory      debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 19.       Raw materials




 20.       Work in progress




 21.       Finished goods, including goods held for resale




 22.       Other inventory or supplies




 23.       Total of Part 5.
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           □ No
           □ Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           □ No
           □ Yes. Book value                            Valuation method                         Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
           □ No
           □ Yes

 Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                page 3
Software Copyright (c) 1996-2016 Best Case, LLC-www.bestcase.com                                                                  Best Case Bankruptcy
                                  Case 16-11236-BLS                      Doc 1      Filed 05/18/16            Page 10 of 43


  Debtor                      Code Rebel Corporation                                              Case number (if known)
                 Name


            General description                                                Net book value of         Valuation method used   Current value of
                                                                               debtor's interest         for current value       debtor's interest
                                                                               (Where available)

 28.        Crops-either planted or harvested




 29.        Farm animals Examples: Livestock, poultry, farm-raised fish




 30.        Farm machinery and equipment (Other than titled motor vehicles)




 31.        Farm and fishing supplies, chemicals, and feed




 32.        Other farming and fishing-related property not already listed in Part 6




 33.        Total of Part 6.
            Add lines 28 through 32. Copy the total to line 85.

 34.        Is the debtor a member of an agricultural cooperative?
            □ No
            □ Yes. Is any of the debtor's property stored at the cooperative?
                      □ No
                      □ Yes

 35.        Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
            □ No
            □ Yes. Book value                            Valuation method                         Current Value

 36.        Is a depreciation schedule available for any of the property listed in Part 6?
            □ No
            □ Yes

 37.        Has any of the property listed in Part 6 been appraised by a professional within the last year?
            □ No
            □ Yes

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       .No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of         Valuation method used    Current value of
                                                                              debtor's interest         for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                  Case 16-11236-BLS                     Doc 1       Filed 05/18/16          Page 11 of 43


  Debtor                   Code Rebel Corporation                                              Case number (if known)
                  Name




 40.         Office fixtures




 41.         Office equipment, including all computer equipment and
             communication systems equipment and software

                                                                               $13,491.44              book-value               $13,491.44

 42.         Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
             books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
             collections; other collections, memorabilia, or collectibles

             42.1.




 43.         Total of Part 7.                                                                                                     $13,491.44
             Add lines 39 through 42. Copy the total to line 86.                                                           L

 44.         Is a depreciation schedule available for any of the property listed in Part 7?
             □ No
                     es

 45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
             □ Yes
 Part 8:    Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

  ’^Tno. Go to Part 9.
       □ Yes Fill in the information below.

             General description                                              Net book value of        Valuation method used   Current value of
             Include year, make, model, and identification numbers            debtor's interest        for current value       debtor's interest
             (i.e., VIN, HIN, or N-number)                                    (Where available)

 47.         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


             47.1.



 48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
             floating homes, personal watercraft, and fishing vessels

             48.1.



 49.         Aircraft and accessories


             49.1..


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                   Case 16-11236-BLS                      Doc 1     Filed 05/18/16             Page 12 of 43


   Debtor                      Code Rebel Corporation                                              Case number (if known)
                     Name




   50.        Other machinery, fixtures, and equipment (excluding farm
              machinery and equipment)




  51.         Total of Part 8.
              Add lines 47 through 50. Copy the total to line 87.

  52.         Is a depreciation schedule available for any of the property listed in Part 8?
              □ No
              □ Yes

  53.         Has any of the property listed in Part 8 been appraised by a professional within the last year?
              □ No
              □ Yes

  Part 9:     Real property
 54. Does the debtor own or lease any real property?

       fTNo. Goto Part 10.
        □ Yes Fill in the information below.

  55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

             Description and location of                   Nature and          Net book value of         Valuation method used   Current value of
             property                                      extent of           debtor's interest         for current value       debtor's interest
             Include street address or other               debtor's interest   (Where available)
             description such as Assessor                  in property
             Parcel Number (APN), and type
             of property (for example,
             acreage, factory, warehouse,
             apartment or office building, if
             available.

             55.1.




 56.         Total of Part 9.
             Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
             Copy the total to line 88.

 57.         Is a depreciation schedule available for any of the property listed in Part 9?
             □ No
             □ Yes

 58.         Has any of the property listed in Part 9 been appraised by a professional within the last year?
             □ No
             □ Yes

 Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    D/lo. Go to Part 11.
    CffYes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                        Best Case Bankruptcy
                                  Case 16-11236-BLS                    Doc 1      Filed 05/18/16          Page 13 of 43


  Debtor
                  Name
                                                 Code Rebel Corporation                      Case number (if known)


             General description                                             Net book value of      Valuation method used      Current value of
                                                                             debtor's interest      for current value          debtor’s interest
                                                                             (Where available)

  60.        Patents, copyrights, trademarks, and trade secrets

                   iRapp                                                       6,714                book value                    6,714

  61.        Internet domain names and websites




  62.        Licenses, franchises, and royalties

                       Microsoft License                                         800                  book value            800

  63.       Customer lists, mailing lists, or other compilations




 64.        Other intangibles, or intellectual property




 65.        Goodwill

                   ThinOps Resources                                           $9,194,043              book value                 $9,194,043


 66.        Total of Part 10.
            Add lines 60 through 65. Copy the total to line 89.
                                                                                                                             $9,201,557
 67.        Djryour lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
          ’’SO No
             □ Yes

 68.        is there an amortization or other similar schedule available for any of the property listed in Part 10?
                 o


 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
            □ Yes

 Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   □ No. Go to Part 12.
  ^JVes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                   page 7
Software Copyright (c) 1996-2016 Best Case, LLC-www.bestcase.com                                                                     Best Case Bankruptcy
                                   Case 16-11236-BLS                      Doc 1       Filed 05/18/16        Page 14 of 43


   Debtor                        Code____Rebel                                                 Case number (if known)
                  Name
                                 Corporation
  71.         Notes receivable
              Description (include name of obligor)

                                                                         $635,961.85 -                 0
                 Aegis Identity Software                                Total face amount   doubtful or uncollectible amount         $635,961.85


  72.        Tax refunds and unused net operating losses (NOLs)
             Description (for example, federal, state, local)


                                                                                                Tax year



  73.        Interests in insurance policies or annuities




  74.        Causes of action against third parties (whether or not a lawsuit
             has been filed)


                                                                     See Exhibit [C]                                             $1,270,370.89
             Nature of claim
             Amount requested



 75.         Other contingent and unliquidated claims or causes of action of
             every nature, including counterclaims of the debtor and rights to
             set off claims



            Nature of claim
            Amount requested



 76.        Trusts, equitable or future interests in property




 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership




 78.        Total of Part 11.
                                                                                                                               $1,906,332.74
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
                No
            □ Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                    Best Case Bankruptcy


                                                                                                                                                           J
                                                                                                                                                           I
                                   Case 16-11236-BLS                     Doc 1       Filed 05/18/16          Page 15 of 43


   Debtor               Code Rebel Corporation                                                  Case number (if known)
                   Name



   Part 12:        Summary

  In Part 12 copy all of the totals from the earlier parts of the form
       Type of property                                                              Current value of             Current value of real
                                                                                     personal property            property
   80. Cash, cash equivalents, and financial assets.
       Copy line 5, Part 1                                                              $29,977,67
   81. Deposits and prepayments. Copy line 9, Part 2.                                   $46,212.17
   82. Accounts receivable. Copy line 12, Part 3.
                                                                                        $48,207.90
   83. Investments. Copy line 17, Part 4.

  84. Inventory. Copy line 23, Part 5.

  85. Farming and fishing-related assets. Copy line 33, Part 6.

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                             $13,491.44
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

  88. Real property. Copy line 56, Part 9.                                                               >
  89. Intangibles and intellectual property. Copy line 66, Part 10.                    9,201,557
  90. All other assets. Copy line 78, Part 11.                                   +      1,906,332.74
  91. Total. Add lines 80 through 90 for each column                             $11,245,778.92              + 91b.


  92. Total of all property on Schedule A/B. Add lines 91a+91b=92
                                                                                                                              $11,245,778.92




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                          Best Case Bankruptcy




                                                                                                                                                                 f
                                                                                                                                                                 i
                                        Case 16-11236-BLS                       Doc 1           Filed 05/18/16        Page 16 of 43


  Fill in this information to identify the case:

 ; Debtor name


  United States Bankruptcy Court for the:               DISTRICT OF DELAWARE


  Case number (if known)
                                                                                                                                           □    Check if this is an
                                                                                                                                                amended filing


 Official Form 206D
 Schedule P; Creditors Who Have Claims Secured by Property                                                                                                       12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?

             No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

       □ Yes. Fill in all of the information below.

  Parti:           List Creditors Who Have Secured Claims

  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured        Column A                    Column B
  claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.

  2.1. ■                                                 Describe debtor's property that is subject to a lien
           Creditor's Name




           Creditor's mailing address                    Describe the lien


                                                         Is the creditor an insider or related party?
                                                         □ No
           Creditor's email address, if known            Q Yes
                                                         Is anyone else liable on this claim?
           Date debt was incurred                        □ No
                                                         D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number


           Do multiple creditors have an                 As of the petition filing date, the claim is:
           interest in the same property?                Check all that apply
           nn No
           EH Yes. Specify each creditor,                □ Contingent
           including this creditor and its relative
                                                         EH Unliquidated
           priority.
                                                         EH Disputed




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.




Official Form 206D                                    Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




                                                                                                                                                                               i
                                  Case 16-11236-BLS                      Doc 1         Filed 05/18/16                 Page 17 of 43


  Debtor
               Name
                      CodeJRebel Corporation                                                          Case number (it know)



  Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
  List in alphabetical order any others who must be notified for a debt already listed in Parti. Examples of entities that may be listed are collection agencies,
  assignees of claims listed above, and attorneys for secured creditors.

  If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
          Name and address                                                                                     On which line in Part 1 did you    [Last 4 digits of account
                                                                                                               enter the related creditor?        number for this entity
                                                                                                                Line 2.




          Name and address                                                                                    On which line in Part 1 did you      Last 4 digits of account
                                                                                                              enter the related creditor?          number for this entity
                                                                                                              Line 2.




          Name and address                                                                                    On which line in Part 1 did you      Last 4 digits of account
                                                                                                              enter the related creditor?          number for this entity
                                                                                                              Line 2._




          Name and address                                                                                   On which line in Part 1 did you       Last 4 digits of account
                                                                                                             enter the related creditor?           number for this entity
                                                                                                             Line 2._




         Name and address                                                                                    On which line in Part 1 did you       Last 4 digits of account
                                                                                                             enter the related creditor?           number for this entity
                                                                                                             Line 2._




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy




                                                                                                                                                                                 i
                                                                                                                                                                                 l
                                   Case 16-11236-BLS                       Doc 1           Filed 05/18/16                   Page 18 of 43


   Fill in this information to identify the case:

  ! Debtor name                    Cnrifl RRhfil Corporation
   United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

  ' Case number (if known)
                                                                                                                                               □ Check if this is an
                                                                                                                                                 amended filing

  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
                                                                                                                                                        unsecured claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule MB:
                                                                                                                                                       Assets - Real and
 Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries
                                                                                                                                                           in Parts 1 and
 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

  Parti:        List All Creditors with PRIORITY Unsecured Claims
        1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

               No. Go to Part 2.

            □ Yes. Go to line 2.

        2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
                                                                                                                                                             3 creditors
           with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount
  2.1. :     Priority creditor's name and mailing address                   As of the petition filing date, the claim is:             $                     $
                                                                            Check all that apply.
                                                                            O Contingent
                                                                            □ Unliquidated
                                                                            Cl Disputed


            Date or dates debt was incurred                                 Basis for the claim:


            Last 4 digits of account                                        Is the claim subject to offset?
            number
                                                                            □ No
                                                                            D Yes
            Specify Code subsection of PRIORITY unsecured claim:
            11 U.S.C. § 507(a) (_____ )



 Part 2: H List All Creditors with NONPRIORITY Unsecured Claims                             ___ ____________ ___________ ___
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
                                                                                                                                                       unsecured claims, fill
           out and attach the Additional Page of Part 2.


                                                                                                                                                     Amount of claim
            Nonpriority creditor's name and mailing address
.3.1.                                                                      As of the petition filing date, the claim is:                             $     859,656.03
                                                                           Check all that apply.
                                                                           □ Contingent
                 Exhibit [D]                                               O Unliquidated
                                                                           EH Disputed

                                                                           Basis for the claim:



           Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                           D No
           Last 4 digits of account number
                                                                           D Yes




 Part 3:      List Others to Be Notified About Unsecured Claims
Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                                            Best Case Bankruptcy

                                                                                                                                                                                   I
                                                                                                                                                                                   f
                                 Case 16-11236-BLS                      Doc 1          Filed 05/18/16                Page 19 of 43


   Debtor
               Name
                      Code Rebel Corporation                                                        Case number (if known)



 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
    If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

        Name and mailing address                                                                   On which line in Parti or Part 2 is the          Last 4 digits of
                                                                                                   related creditor (if any) listed?                account number, if
                                                                                                                                                    any
  4.1
                                                                                                   Line

                                                                                                   □ Not listed. Explain


  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims
 S. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                                    Total of claim amounts

  5a. Total claims from Part 1                                                                        5a.       $     0.00
  5b. Total claims from Part 2                                                                        5b.   * $ 859,656.03

  5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                             5c.      $     859,656.03




Official Form 206 E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                                        Best Case Bankruptcy

                                                                                                                                                                               f
                                  Case 16-11236-BLS                   Doc 1     Filed 05/18/16              Page 20 of 43


   Fill in this information to identify the case:

  Debtor name                 Code Rebel Corportion
  United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

  Case number (if known)
                                                                                                                                □ Check if this is an
                                                                                                                                  amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                              12/15
 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       □LNo. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
 (Official Form 206A/B).

  2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

  2.1        State what the contract or
             lease is for and the nature
                                                        employment contract
             of the debtor's interest

               State the term remaining                   unlimited
             List the contract number of
              any government contract                                             Bruce Huber, 1012 Grey Fox Drive Savannah TX 76227

  2.2       State what the contract or
            lease is for and the nature
                                                        employment contract
            of the debtor's interest

               State the term remaining                 until 11/1/2016
             List the contract number of
              any government contract
                                                                               Reid Dabney, 2941 Burdeck Dr, Oakland TX 94602

  2.3       State what the contract or               employment contract
            lease is for and the nature
            of the debtor's interest

              State the term remaining                  5/19/2018
             List the contract number of
              any government contract                                         Arben Kane, 77 Ho'okele Str#101, Kahului HI 96732

  2.4       State what the contract or
            lease is for and the nature
                                                        Purchase Prder
            of the debtor's interest

              State the term remaining                   $29,643.75
             List the contract number of
              any government contract

                                                                                Houston, TX 77072


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com
                                                                                                                                             Best Case Bankruptcy
                                   Case 16-11236-BLS                  Doc 1        Filed 05/18/16             Page 21 of 43


    Fill in this information to identify the case:

    Debtor name                 Code-Rebel Corporation--------
   United States Bankruptcy Court for the:              DISTRICT OF DELAWARE

   Case number (if known)
                                                                                                                                  □ Check if this is an
                                                                                                                                    amended filing

  Official Form 206H
  Schedule H: Your Codebtors                                                                                                                            12/15

  Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
                                                                                                                                   Attach the
  Additional Page to this page.

        1. Do you have any codebtors?

           o. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.


     2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules
                                                                                                                                                   of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
        on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
              Column 1: Codebtor                                                                        Column 2: Creditor


                Name                             Mailing Address                                      Name                             Check all schedules
                                                                                                                                       that apply:
     21         Thomas Moreno pp Rnx 9545                                                              Chase-Mastercard DP
                                                 Street
                                                                                                                        s/e/f
                                                    The Woodlands, TX 77387                                             □G
                                                 City                State       Zip Code


     2.2
                                                                                                                                      □D
                                                 Street
                                                                                                                                      □ E/F
                                                                                                                                      □G
                                                City                 State       Zip Code


     2.3
                                                                                                                                      □D
                                                Street
                                                                                                                                      □ E/F
                                                                                                                                      □G
                                                City                 State       Zip Code


    2.4
                                                                                                                                     □ D
                                                Street
                                                                                                                                     □ E/F
                                                                                                                                     □ G
                                                City                 State       Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Page 1 of 1
                                                                                                                                              Best Case Bankruptcy




                                                                                                                                                                     I
                                                                                                                                                                     ■
                                   Case 16-11236-BLS                          Doc 1        Filed 05/18/16             Page 22 of 43




   Fill in this information to identify the case:

   Debtor name
                           Code Rebel Corporation-----------
   United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

   Case number (if known)__________________________
                                                                                                                                         □ Check if this is an
                                                                                                                                           amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write the debtor’s name and case number (if known).

  Part 1:      Income

 1. Gross revenue from business

       □ None.

        Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
        which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                            exclusions)
        From the beginning of the            From       1 /"! /201 6     to      Filing Date   "^6 Operating a business
         fiscal year to filing date:                   WIM/DD/YYYY
                                                                                                                                            S 255,860.55
                                                                                                □ Other      _
        For prior year:                      From         1/1/2015       to      Filing Date      Operating a business                      $ 779,080.92
                                                       MM/DD/YYYY                               □ Other _
        For the year before that:            From       1/1/2014         to      Filing Date   '^Operating
                                                                                                                 a business                 $    436,044.97
                                                       MM/DD/YYYY                               □ Other
 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

            lone.

                                                                                                Description of sources of revenue          Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)
        From the beginning of the            From                        to     Filing Date
        fiscal year to filing date:
                                                                                                                                            $
                                                      MM/DD/YYYY

        For prior year:                      From                        to     Filing Date                                                $
                                                      MM/DD/YYYY

        For the year before that:            From                        to     Filing Date                                                $
                                                      MM/DD/YYYY


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers-including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      □ None.

       Creditor's Name and Address                                            Dates              Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                                    Best Case Bankruptcy
                                  Case 16-11236-BLS                       Doc 1         Filed 05/18/16              Page 23 of 43

  Debtor                        Code Rebel Corporation                                                   Case number (if known)



        Creditor's Name and Address                                        Dates                  Total amount of value         Reasons for payment or transfer
                                                                                                                                Check all that apply
        3.
                                                                                                                                □ Secured debt
                      see Exhibit [E]                                                                                           □ Unsecured loan repayments
                                                                                                                                □ Suppliers or vendors
                                                                                                                                □ Services
                                                                                                                                □ Other______________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

             None.

        Insider's name and address                                         Dates                  Total amount of value         Reasons for payment or transfer
        Relationship to debtor
        4.
                                     see Exhibit [F]
5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

              one

        Creditor's name and address                            Describe of the Property                                       Date                    Value of property




6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

             None

       Creditor's name and address                             Description of the action creditor took                        Date action was                    Amount
                                                                                                                              taken

                                                               Last 4 digits of account number:


 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      □ None.

                Case title                                     Nature of case             Court or agency's name and                 Status of case
                Case number                                                               address
       7.                                                                                                                            □ Pending
                                                                                                                                     □ On appeal
                                                  See Exhibit [G]                                                                    □ Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Software Copyright (c) 1996-2016 Best Case, LLC-www.bestcase.com                                                                                        Best Case Bankruptcy
                                   Case 16-11236-BLS                              Doc 1      Filed 05/18/16             Page 24 of 43

   Debtor                   Code Rebel Corporation                                                           Case number (if known)



       receiver, custodian, or other court-appointed officer within 1 year before filing this case.




         Custodian's name and Address                                Describe the property                                                  Value


                                                                     Case title                                                             Court name and address

                                                                     Case number

                                                                     Date of order or assignment




  Part 4:      Certain Gifts and Charitable Contributions

 9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
      the gifts to that recipient is less than $1,000

             None

                Recipient's name and address                         Description of the gifts or contributions              Dates given                            Value

        9.


                Recipients relationship to debtor




  Part 5:      Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

             None

        Description of the property lost and                         Amount of payments received for the loss               Dates of loss           Value of property
        how the loss occurred
                                                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets - Real and Personal Property).



 Part 6:       Certain Payments or Transfers_______________ ________________________________________________________________ _______

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      □ None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com
                                                                                                                                                      Best Case Bankruptcy
                                                                                                                                                                             i

                                                                                                                                                                             I
                                   Case 16-11236-BLS                        Doc 1        Filed 05/18/16              Page 25 of 43

  Debtor                         Code Rebel Corporation                                                  Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
        11.      Shierkatz RLLP
                 930 Montgomery Street 6th Floor, San Francisco, CA94133                                                        05/17/2016 __ $2,623.50
                 Email or website address
                    mshier@shierkatz.com_____
                 Who made the payment, if not debtor?

                ______ debtor____________________________________

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

     ^None.

        Name of trust or device                                      Describe any property transferred                 Dates transfers       Total amount or
                                                                                                                       were made                      value




       Trustee




13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      □ None.

               Who received transfer?                            Description of property transferred or                   Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange              was made                    value
       13. Aegis Identity Software                                   unsecured note
                                                                                                                               01/15/16       $500,000.00
               Relationship to debtor




  Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      □ Does not apply

                Address                                                                                                    Dates of occupancy
                               89 Ho'okele Street Kahului, HI 96732                                                        From-To        2009-2014
       14.

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                                  Case 16-11236-BLS                       Doc 1          Filed 05/18/16              Page 26 of 43

  Debtor                   Code Rebel Corporation                                                        Case number (if known)



               No. Go to Part 9.
       □       Yes. Fill in the information below.

                  Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care
        15.1
                  Facility name

                  Street                                         Location where patient records are maintained (if different from         How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                  City              State       Zip Code                                                                                  Check all that apply:
                                                                                                                                          □ Electronically
                                                                                                                                          □ Paper

 Part 9:        Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

               No.
       □       Yes. State the nature of the information collected and retained.


                    Does the debtor have a privacy policy about that information?
                    □ No
                    □ Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 (k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

             No. Go to Part 10.
       □     Yes. Does the debtor serve as plan administrator?

                     □ No Go to Part 10.
                     □ Yes. Fill in below:
                     Name of plan                                                                               Employer identification number of the plan
                                                                                                                EIN:

                     Has the plan been terminated?
                     □ No
                     □ Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      □ None
                 Financial Institution name and                  Last 4 digits of         Type of account or           Date account was               Last balance
                 Address                                         account number           instrument                   closed, sold,              before closing or
                                                                                                                       moved, or                           transfer
                                                                                                                       transferred
       18.JP Morgan Chase Bank      xxxx- 7950                                         ^jjJ^Checking

          PO Box 659754                                                                   □   Savings                     3/31/2016                     $237.26
                                                                                          □   Money Market
           San Antonio, TX 78265-9754                                                     □   Brokerage
                                                                                          □   Other______


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                   Case 16-11236-BLS                       Doc 1         Filed 05/18/16              Page 27 of 43

  Debtor                 Code Rebel Corporation                                                           Case number (if known)



      case.


     '^^None

        Depository institution name and address                      Names of anyone with                  Description of the contents          Do you still
                                                                     access to it                                                               have it?
                                                                     Address
                                                                                                                                                □ No
                                                                                                                                                □ Yes


 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
     which the debtor does business.


              lone

        Facility name and address                                    Names of anyone with                  Description of the contents          Do you still
                                                                     access to it                                                               have it?
                                                                                                                                                □ No
                                                                                                                                                □ Yes



  Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.



        Owner's name and address                                     Location of the property              Describe the property                            Value




 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No.
      □      Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address
                                                                                                                                               □ Pending
                                                                                                                                               □ On appeal
                                                                                                                                               □ Concluded


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                  Case 16-11236-BLS                       Doc 1          Filed 05/18/16              Page 28 of 43

 Debtor             Code Rebel Corporation                                                               Case number (if known)



     environmental law?

              No.
       □      Yes. Provide details below.

        Site name and address                                        Governmental unit name and                Environmental law, if known               Date of notice
                                                                     address




24. Has the debtor notified any governmental unit of any release of hazardous material?

              No.
       □      Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address




 Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            lone

    Business name address                                      Describe the nature of the business             Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.                                                                                                        EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         □ None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a. Petra Grimm, 77 Ho'okele Street Suite 102, Kahului, HI 96732                                                                        3/1 /2009-present

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           □ None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.   LICHTER, YU AND ASSOCIATES INC, 16133 VENTURA BLVD #450, LOS ANGELES, CA 91436
              ANKIT CONSULTING SERVICES INC, 11 PLUSHSTONE, RANCHO SANTA MARGARTA, CA 92688

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           □ None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestoase.com                                                                                        Best Case Bankruptcy
                                  Case 16-11236-BLS                        Doc 1         Filed 05/18/16              Page 29 of 43

  Debtor                    Code Rebel Corporation                                                       Case number (if known)



         Name and address                                                                                     If any books of account and records are
                                                                                                              unavailable, explain why
         26c.
                   books and records are kept in the office at 77 Ho'okele Suite 102, Kahului, HI 96732

      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.

                   one

         Name and address
         26d.



 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?

              No
        □     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory
        27.

                Name and address of the person who has possession of
                inventory records




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

        Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                           interest                              any


                           see Exhibit [H]

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       CUNo
              Yes. Identify below.

        Name                                          Address                                              Position and nature of any        Period during which
                                                                                                           interest                          position or interest
         Thomas Moreno                                63 Quail Rick Place
                                                      The Woodlands TX 77381                                  President             8/1 /1 ^/^'f6
      Christopher r Sawicki II                         81000East Camelback Road                                 President                    7/1/15-7/31/15
      Payments, distributions, or withdrawal^?e^le<for gtoen^b msifflre
30.
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
      loans, credits on loans, stock redemptions, and options exercised?

       □      No
              Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                   Case 16-11236-BLS                          Doc 1        Filed 05/18/16            Page 30 of 43

  Debtor            Code Rebel Corporation                                                               Case number (if known)



                Name and address of recipient                        Amount of money or description and value of          Dates             Reason for
                                                                     property                                                               providing the value
        30.
                                           see Exhibit [F]
                Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

              No
       □      Yes. Identify below.

     Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                               corporation
                                                                                                               EIN:


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

              No
       □      Yes. Identify below.

     Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                               corporation
                                                                                                               EIN:


 Part 14:      Signature and Declaration

      WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on


 Signature of individual signing on behalf of the debtor                    Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    o
    es




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                  Case 16-11236-BLS                   Doc 1         Filed 05/18/16      Page 31 of 43




                                                               United States Bankruptcy Court
                                                                      District of Delaware
  In re                        Code Rebel Corporation                                                      Case No.
                                                                                   Debtor(s)               Chapter



                                               VERIFICATION OF CREDITOR MATRIX


I, the           of the           named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




 Date:                    05/18/2016
                                                                          /
                                                                     Signer/Tith          ArbeirKane'/'CEO




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                  Case 16-11236-BLS                    Doc 1      Filed 05/18/16        Page 32 of 43




                                                               United States Bankruptcy Court
                                                                      District of Delaware
  In re                 Code Rebel Corporation                                                           Case No.
                                                                                Debtor(s)                Chapter




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for          in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




j^None [Check if applicable]




 Date
                                                                    Signature of Attorney or Litigant
                                                                    Counsel for




Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com                                                       Best Case Bankruptcy
                        Case 16-11236-BLS      Doc 1    Filed 05/18/16   Page 33 of 43


Code Rebel Corporation                                                         Exhibit [A]

3. Checking Accounts

                3.1    American Savings Bank      business checking                      8730   $   18,766.14
                3.2    Ciry National Bank         business checking                      9164   $      836.22
                3.3    American Savings Bank      business checking                      8725   $      144.99
                3.4    First Hawaiian Bank        business checking                      2165   $    1,091.04
                3.5    Origin Bank                business checking                      2229   $    6,293.83
                3.6    Chase Bank                 business checking                      6900   $     378.33

                       Total                                                                    $   27,510.55
                         Case 16-11236-BLS                Doc 1          Filed 05/18/16    Page 34 of 43


Code Rebel Corporation           Exhibit [B]

8. Prepayments:


Name                             Description                    Period              Amount/Period       Amount paid     Prepaid Amount

The Hartford Insurance           ThinOps Liability             4/14/16-4/14/17      $          449.00   $      112.50   $        69.20
Nasdaq                           Annual Listing Fee            Year 2016            $       55,000.00   $   55,000.00   $    32,083.33
SEC Connect                      SEC Filing Fees               11/18/15-11/18/16    $        6.500.00   $    6.500.00   $     3,236.65
Market Wired Inc                 Press Releases                10 Press Releases    S        9.500.00   $    9.500.00   $     3,800.00
Wall Street Analyst              Advertising                   4/1/16-4/1/16        $        6.850.00   $    6.850.00   $     5,053.28
MacPractis Inc                   License                       7/2/15-7/2/16        $        1.200.00   $    1.200.00   $       145.48

The Hartford Insurance           Work Comp California and Texas 4/6/16-4/6/17       $         739.00 $         739.00 $         641.82
State Farm                       Code Rebel Liability           11/10/15-11/10/16   S         300.00 $         300.00 $         142.81

State Farm Speciality Products   E8iO Insurance                 11/10/15-11/10/16   $        1,941.00 $      1,941.00 $         928.18
First Comp Insurance             Work Comp Hawaii               11/17/15-11/17/16   $          225.00 $        225.00 $         111.42

                                                                                                                        $    46,212.17
                  Case 16-11236-BLS           Doc 1   Filed 05/18/16   Page 35 of 43


Code Rebel Corporation                                                      Exhibit [C]




Nature of Claim                                                             Amount Requested

Potential Contract Claim against Tom Moreno                                  $      670,370.89
Potential Contract Claim against Thorsdale                                   $      600,000.00

total                                                                        $    1,270,370.89
                            Case 16-11236-BLS                        Doc 1         Filed 05/18/16                Page 36 of 43


Code Rebel Corporation                                        Exhibit [D]

                                                                             As of the
                                                                               Petiion                               Is the
                                                 Dates debt   last 4 digits filing date                              claim
                                                    was       of account the claim                                 subject to
 Nonpriority creditor's name and mailing address  incurred      number           is        Basis for the claim       offset         Amount of claim




 Chase PO Box 15123 Wilmington, DE 19850-5123    5/9/2016        7599                     Balance on MasterCard       No        $           44,100.08

Continental Stock Transfer & Trust Company
17 Battery Place, New York, NY 10004             4/30/16         C398                     Stock Transfer Agent        No        $              667.61
DLA Piper 1261 Avenue of the Americas,                         393948­
127th Floor New York, NY 10020-1104               3/7/16       000001                            Legal                No        $           81,631,50
 FASB PO Box 418272                                           F-291715-
Boston, MA 02241-8272                            4/29/16         163                           Accounting             No        $              100.00
                                                 2/22/16,
                                                 3/22/16,
Herrick, Feinstein LLP Two Park Avenue.          4/19/16,
New York, NY 10016                               5/18/16        18222                            Legal                No        $          290,000.00
Olshan Frome Wolosky LLP Park Avenue
Tower, 65 East 55th Street, New York, NY         4/13/16,
10022                                            5/9/216       010146                            Legal                No        $           35,360,34
OmniVere, 208 South LaSalle Suite 1550,          4/1/16,
Chicago, IL 60604                                4/30/16          N/A                          Consulting             No        $            6,496.50
Oppenheimer & Co, Inc 85 Broad Street, 4th
Floor, New York, NY 10004                        3/11/16          N/A                          Consulting             No        $          400,000.00
PCAOB
Po Box 418631
Boston, MA 02241-8631                            4/29/16          N/A                          Accounting             No        $            1,300.00

                                                                                                                                           859,656.03
 5:24 PM
 05/17/16
                            Case 16-11236-BLS ThinOps
                                                Doc 1 Resources,
                                                        Filed 05/18/16
                                                                 LLC                         Page 37 of 43
 Accrual Basis                              Transactions by Account
                                                            As of May 18, 2016
 Code Rebel Corporation           Exhibit [E]



                                                                                 Total Amount of
 Creditor's Name                 Creditor's Address                Dates         Value               Reasons for payment
 Galarza, Victor                 Victor A. Galarza                  03/01/2016             -8,460.00 Services
 Galarza, Victor                 1018 Viento Point                  03/19/2016             -4,4io.oo Services
 Galarza, Victor                 San Antonio, TX 78260              03/21/2016             -3,870.00 Services
 Galarza, Victor                                                    03/31/2016             -8,100.00 Services
 Galarza, Victor                                                    04/15/2016             -7,830.00 services
 Galarza, Victor                                                    04/29/2016             -7,290.00 Services
 Galarza, Victor                                                    05/16/2016             -7,740.00 Services
 Galarza, Victor                                                    05/16/2016            -13,860.00 Services
 Galarza, Victor Total                                                                    -61,560.00 Services
 Mainstream Virtualization LLC   Mainstream Virtualization LLC      03/01/2016             -4,650.00 Services
 Mainstream Virtualization LLC   18519 Royal Haven Lane             03/15/2016             -6,930.08 Services
 Mainstream Virtualization LLC   Cypress, TX 77433                  03/31/2016             -6,000.00 Services
Mainstream Virtualization LLC                                       04/15/2016             -4,950.00 Services
 Mainstream Virtualization LLC                                      04/29/2016             -4,800.00 Services
Mainstream Virtualization LLC                                       05/16/2016             -4,800.00 Services
Mainstream Virtualization LLC                                       05/16/2016            -12,825.00 Services
Mainstream Virtualization LLC
Total                                                                                     -44,955.08 Services
MLR Technologies                 MLR Technologies                   03/02/2016               -845.00 Services
MLR Technologies                 16715 Mackenzi Mesa Dr.            03/15/2016             -2,080.00 Services
MLR Technologies                 Spring, TX 77379                   03/31/2016              -845.00 Services
MLR Technologies                                                    04/15/2016              -780.00 Services
MLR Technologies                                                    04/29/2016              -130.00 Services
MLR Technologies                                                    05/16/2016               -195.00 Services
MLR Technologies Total                                                                     -4,875.oo Services
Shackelford. Jon                 Jon Shackelford                    03/01/2016             -3,906.59 Services
Shackelford, Jon                 16635 Lake Aquilla Lane.           03/15/2016             -3,906.59 Services
Shackelford, Jon                 Houston, TX 77044                  03/31/2016             -3,906.59 Services
Shackelford, Jon                                                    04/15/2016             -3,906.59 Services
Shackelford, Jon                                                    04/29/2016             -3,906.59 Services
Shackelford, Jon                                                    05/16/2016             -3,906.59 Services
Shackelford, Jon                                                    05/16/2016             -1,081.80 Services
Shackelford, Jon                                                    03/15/2016             -2,262.68 Services
Shackelford, Jon Total                                                                    -26,784.02 Services
Sky Helm, LLC                    Sky Helm,LLC                       03/01/2016             -3,890.00 Services
Sky Helm,LLC                     2639 Winding Creek Way            03/15/2016             -2,060.00 Services
Sky Helm,LLC                     Conroe, TX 77385                  03/31/2016               -850.00 Services
Sky Helm, LLC                                                       04/15/2016              -807.50 Services
Sky Helm,LLC                                                        04/29/2016              -616.25 Services
Sky Helm,LLC Total                                                                        -8,223.75 Services
Wilson, Bonnie                   Bonnie Wilson                     03/01/2016             -1,280.00 Services
Wilson, Bonnie                   P.0 Box 8286                      03/15/2016             -1,280.00 Services
Wilson, Bonnie                   The Woodlands, TX 77387           03/31/2016             -1,280.00 Services
Wilson, Bonnie                                                     04/15/2016             -1,280.00 Services
Wilson, Bonnie                                                     04/29/2016             -1,280.00 Services
Wilson, Bonnie                                                     05/16/2016             -1,280.00 Services
Wilson, Bonnie                                                     05/16/2016               -354.00 Services
Wilson, Bonnie Total                                                                      -8,034.00 Services
Aegis                            Aegis Identy Software, Inc.       03/11/2016            -46,448.00 Unsecured Loan
                                 750 West Hampden Avenue Suite
Aegis                            500                               04/11/2016            -75,000.00 Unsecured Loan



                                                                                                                           Page 1 of 3
  5:24 PM
  05/17/16
                              Case 16-11236-BLS ThinOps
                                                  Doc 1 Resources,
                                                          Filed 05/18/16
                                                                   LLC                      Page 38 of 43
  Accrual Basis                               Transactions by Account
                                                                   As of May 18, 2016
  Aegis Total                        Englewood, CO 80110                                -121,448.00 Unsecured Loan

 American Capital Ventures, Inc      American Capital Ventures, Inc.       02/24/2016     -6,000.00 Services
 American Capital Ventures, Inc      1507 N.E. 194th Street                04/14/2016     -6,000.00 Services
 American Capital Ventures, Inc      North Miami Beach, FL 33179           05/10/2016     -6,000.00 Services
 American Capital Ventures, Inc
 Total                                                                                   -18,000.00 Services
 Ankit Consulting Services Inc       Ankit Consulting Services Inc         04/14/2016     -4,250.00 Services
 Ankit Consulting Services Inc       11 Plushstone                         05/13/2016     -3,500.00 Services
 Ankit Consulting Services Inc
 Total                               Rancho Santa Margarita, CA 92688                     -7,750.00 Services
 Herrick, Feinstein LLP              Herrick, Feinstein LLP                02/22/2016          o.oo Services
 Herrick, Feinstein LLP              2 Park Avenue, 21st Floor             03/11/2016    -50,000.00 Services
 Herrick, Feinstein LLP              New York, NY 10016                    03/31/2016          o.oo Services
 Herrick, Feinstein LLP                                                    05/09/2016    -50,000.00 Services
 Herrick, Feinstein LLP                                                    05/17/2016       -335.00 Services
 Herrick, Feinstein LLP Total                                                           -100,335.00 Services

 Lichter, Yu and Associates, Inc,    Lichter, Yu and Associates, Inc.      04/14/2016    -33,113.95 Services

 Lichter, Yu and Associates, Inc.    16133 Ventura Blvd. Suite 450         05/13/2016    -10,300.00 Services
 Lichter, Yu and Associates, Inc.
 Total                              Los Angeles, CA 91436                                 -43,413.95 Services
 Oppenheimer                        Oppenheimer & Co, Inc.                 04/13/2016   -100,000.00 Services
 Oppenheimer Total                  85 Broad Street 23rd Floor                          -100,000.00 Services
                                    New York, NY 10004

 Premium Assignment                 Premium Assignment Corporation        02/18/2016     -14,466.49 Services
 Premium Assignment                 PO Box 8000                           03/18/2016     -14,466.49 Services
Premium Assignment Total            Tallahassee FL 32314-8000                            -28,932.98 Services
Walden Macht & Haran LLP            Walden Macht & Haran LLP              05/17/2016     -50,000.00 Services

Walden Macht & Haran LLP Total 1 Broadway 6th Floor                                      -50,000.00 Services
  _____      ______ ______New York, NY 10004
Wellfleet Partners, Inc             Wellfleet Partners, Inc               04/25/2016     -9,500.00 Services
Wellfleet Partners, Inc Total       1 Penn Plaza, Suite 2411                             -9,500.00 Services
                                    New York, NY 10119
Google ADWS7224312265               Google Inc                            02/19/2016       -500.00 Services
Google ADWS7224312265               Department No 33654                   02/21/2016       -500.00 Services
Google ADWS7224312265               PO Box 39000                          02/22/2016       -500.00 Services
Google ADWS7224312265               San Francisco, CA 94139-3181          02/24/2016       -500.00 Services
Google ADWS7224312265                                                     02/26/2016       -500.00 Services
Google ADWS7224312265                                                     02/28/2016       -500.00 Services
Google ADWS7224312265                                                     03/01/2016       -500.00 Services
Google ADWS7224312265                                                     03/03/2016       -500.00 Services
Google ADWS7224312265                                                     03/04/2016       -500.00 Services
Google ADWS7224312265                                                     03/05/2016       -500.00 Services
Google ADWS7224312265                                                     03/09/2016       -500.00 Services
Google ADWS7224312265                                                     03/11/2016       -500.00 Services
Google ADWS7224312265                                                     03/24/2016       -500.00 Services
Google ADWS7224312265                                                     04/26/2016       -446.55 Services

Google ADWS7224312265 Total                                                               -6,946.55 Services
Olshan                              Olshan Frame Wolosky LLP              03/25/2016    -57,371.03 Services
Olshan Total                        65 East 55th Street                                 -57,371.03 Services
                                    New York, NY 10022
Wall Street Analyst LLC             The Wall Street Analyst, LLC          03/30/2016     -6,850.00 Services




                                                                                                                     Page 2 of 3
 5:24 PM
 05/17/16                  Case 16-11236-BLS ThinOps
                                               Doc 1 Resources, LLC
                                                       Filed 05/18/16                 Page 39 of 43
 Accrual Basis                             Transactions by Account
                                                              As of May 18, 2016

 Wall Street Analyst LLC Total   425 61st St Suite 4C                                -6,850.00 Services
                                 New York, New York 11220
 BlueCross BlueShield of Texas   BlueCross BlueShield of Texas        03/08/2016     -2,140.79 Services
 BlueCross BlueShield of Texas   Health Care Service Corp             04/08/2016     -2,140.79 Services
 BlueCross BlueShield of Texas   PO Box 731428                        04/12/2016     -1,480.18 Services
BlueCross BlueShield of Texas    Dallas, TX 75373-1428                05/01/2016     -2,411.21 Services
BlueCross BlueShield of Texas
Total                                                                                -8,172.97 Services
 Bump Networks                   Bump Networks, Inc                   05/10/2016    -42,336.17 Services
 Bump Networks                   77 Ho'okele Street Suite 102         04/11/2016          o.oo Services
Bump Networks                    Kahului, HI 96732                    05/16/2016    -38,853.78 Services
                                                                                               unsecured loan
Bump Networks                                                         03/03/2016    -50,000.00 repayment
                                                                                               43,653.35 unsecured
                                                                                               loan repayment and
Bump Networks                                                         04/11/2016   -123,552.66 79,899.31 Services
                                                                                               unsecured loan
Bump Networks                                                         03/11/2016    -20,000.00 repayment
Bump Networks Total                                                                -274,742.61 Services
                                 Employment Development
EDD                              Department                           03/04/2016    -1,568.96 Payroll Taxes
EDD                              PO Box 826880 MIC 4                  04/07/2016    -1,568.96 Payroll Taxes
EDD                              Sacramento, CA 94280-0001            05/02/2016      -245.00 Payroll Taxes
EDD                                                                   05/04/2016    -1,568.96 Payroll Taxes
EDD                                                                   05/18/2016    -1,568.96 Payroll Taxes
EDD Total                                                                           -6,520.84 Payroll Taxes
United States Treasury           Department of the Treasury           02/19/2016    -4,186.12 Payroll Taxes
United States Treasury           Internal Revenue Service             03/04/2016    -9,244.62 Payroll Taxes
United States Treasury           Ogden, UT 84409                      03/21/2016    -4,186.12 Payroll Taxes
United States Treasury                                               04/06/2016     -9,244.64 Payroll Taxes
United States Treasury                                               04/20/2016     -4,186.12 Payroll Taxes
United States Treasury                                               04/30/2016       -162.00 payroll Taxes
United States Treasury                                               05/04/2016     -9,244.62 Payroll Taxes
United States Treasury                                               05/17/2016     -7,778.90 Payroll Taxes
United States Treasury                                               05/17/2016       -111.00 Payroll Taxes
United States Treasury Total                                                       -48,344.14 Payroll Taxes




                                                                                                                     Page 3 of 3
  6:69 PM
  05/17/16                  Case 16-11236-BLS                   DocCode
                                                                    1 Rebel
                                                                        FiledLLC
                                                                              05/18/16                    Page 40 of 43
  Accrual Basis                                            Transactions by Account
                                                                    As of May 18, 2016

  Code Rebel Corporation          Exhibit [F]                     Exhibit F

                                                                  Insider
                                                                  Relationship to                         Total Amount     Reasons for payment or
  Insider's name                  Insider's address               debtor                    Dates         of Value         transfer
                                                                 Chairman and Chief
 Arben Kryeziu                   77 Ho'okele Street Suite 101     Executive Officer          05/29/2015         1,630.98 Paycheck
 Arben Kryeziu                   Kahului, Hi 96732                                           06/30/2015         1,630.98 Paycheck
 Arben Kryeziu                                                                               07/31/2015         1.630.98 Paycheck
 Arben Kryeziu                                                                               08/31/2015         1,501.17 Paycheck
 Arben Kryeziu                                                                               09/30/2015         1,501.17 Paycheck
 Arben Kryeziu                                                                               10/30/2015         1,501.17 Paycheck
 Arben Kryeziu                                                                               11/30/2015         1,501.17 Paycheck
 Arben Kryeziu                                                                               12/31/2015         1,501.17 Paycheck
 Arben Kryeziu                                                                               01/29/2016         1.629.98 Paycheck
 Arben Kryeziu                                                                               02/29/2016         1,629.98 Paycheck
 Arben Kryeziu                                                                               03/31/2016         1,629.98 Paycheck
 Arben Kryeziu                                                                               04/29/2016         1,629.98 Paycheck
 Arben Kryeziu                                                                               05/18/2016         1,018.78 Paycheck
 Arben Kryeziu Total                                                                                           19,937.49
                                                                 Chief Financials Officer
 Reid D Dabney                   2941 Burdeck Drive              and Secretary               05/18/2016            218.08 travel reimbursement
 Reid D Dabney                   Oakland, CA 94602                                           05/29/2015            466.50 Paycheck
 Reid D Dabney                                                                               06/30/2015            466.50 Paycheck
 Reid D Dabney                                                                               07/31/2015            466.50 Paycheck
 Reid D Dabney                                                                               08/31/2015            466.50 Paycheck
 Reid D Dabney                                                                               09/30/2015            466.50 Paycheck
 Reid D Dabney                                                                               10/30/2015            466.50 Paycheck
 Reid D Dabney                                                                               11/30/2015          1,876.99 Paycheck
 Reid D Dabney                                                                               12/31/2015          1,876.88 Paycheck
 Reid D Dabney                                                                               01/29/2016          1,881.29 Paycheck
 Reid D Dabney                                                                               02/29/2016          1,881.29 Paycheck
 Reid D Dabney                                                                               03/31/2016          1,881.29 Paycheck
 Reid D Dabney                                                                               04/29/2016          1,881.29 Paycheck
 Reid D Dabney                                                                               05/18/2016          1,881.29 Paycheck
 Reid D Dabney Total
                                                                                                                          16,177,40
                                                                                                                          sold ThinOps Resources
 Thomas M Moreno                63 Quail Rock Place              President                   07/31/2015       670,370.89 LLC to debtor
 Thomas M Moreno                The Woodlands, TX 77381                                     08/18/2015          2,430.37 Paycheck
 Thomas M Moreno                                                                            08/31/2015          7.273.00 Paycheck
 Thomas M Moreno                                                                            09/15/2015          4.495.00 Paycheck
 Thomas M Moreno                                                                            09/30/2015          7.273.00 Paycheck
 Thomas M Moreno                                                                            10/15/2015          7.402.00 Paycheck
 Thomas M Moreno                                                                            10/30/2015          7,402.00 Paycheck
 Thomas M Moreno                                                                            11/13/2015          7.402.00 Paycheck
 Thomas M Moreno                                                                            11/30/2015          7.273.00 Paycheck
 Thomas M Moreno                                                                            12/15/2015          7.402.00 Paycheck
 Thomas M Moreno                                                                            12/31/2015          7.402.00 Paycheck
 Thomas M Moreno                                                                            01/15/2016          7.408.00 Paycheck
 Thomas M Moreno                                                                            01/29/2016          7.370.00 Paycheck
 Thomas M Moreno                                                                            02/15/2016          7.394.00 Paycheck
 Thomas M Moreno                                                                            02/29/2016          7.408.00 Paycheck
 Thomas M Moreno                                                                            03/15/2016          7,408.00 Paycheck
Thomas M Moreno                                                                             03/31/2016          7.408.00 Paycheck
Thomas M Moreno                                                                             04/15/2016          7.283.00 Paycheck
Thomas M Moreno                                                                             04/29/2016         7.408.00 Paycheck
Thomas M Moreno                                                                             05/17/2016         4,466.77 Paycheck
Thomas M Moreno Total
                                                                                                             799,679.03
Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC                             81000 East Camelback Road       former President            06/23/2015         5,024.21 travel reimbursement
Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC                             Scottsdale, AZ 85251                                        07/02/2015        21,498.19 Services
Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC                                                                                         07/31/2015        15,416.00 Services
Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC                                                                                         08/31/2015        15,416.00 Services
Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC                                                                                         09/30/2015        15,176.00 Services




                                                                                                                                               Page 1 of 6
 6:59 PM
 05/17/16                   Case 16-11236-BLS                       DocCode
                                                                        1 Rebel
                                                                            FiledLLC
                                                                                  05/18/16                      Page 41 of 43
 Accrual Basis                                                   Transactions by Account
                                                                          As of May 18, 2016

Mr. Christopher R. Sawicki II
dba Xen Consulting Group,
LLC Total             _____                                                                                             72,530.40
                                                                       vice President, cniet
                                                                       Technology Officer and
                                                                       Director, 1,500,000
Volodymyr Bykov                    206 Leiiani Drive #A                shares                     05/18/2016             2,451.83 Travel reimbursement
Volodymyr Bykov Total              Wailuku, Hi 96793                                                                     2,451.83
James Canton                       2084 Union Streei                   Director                   05/18/2016             1,210.15 Travel reimbursement
James Canton Total                 San Francisco, CA 94123                                                               1,210.15




During the year ended December 31, 2015, the Company entered into a restricted stock award agreement with James Canton, Director, in accordance with the
Company’s 2014 Equity Incentive Award Plan. Pursuant to the plan, the Company agreed to award 375,000 shares of Restricted Common Stock which shall be
subject to the terms and conditions and restrictions specified in the plan and agreement. The Company recorded $3,554,062 as director compensation expense for the
restricted stock, representing the amount amortized for the three months ended March 31, 2016.

Reid Dabney



During the three months ended March 31, 2016, the Company entered into a stock option agreement with Reid Dabney, in accordance with the Company's
                                                                                                                                                        2014
Equity Incentive Award Plan. Pursuant to the plan, the Company agreed to award 400,627 optioned shares which shall be subject to the terms and conditions
                                                                                                                                                          and
restrictions specified in the plan and agreement. The Company recorded $279,965 as stock option compensation expense for the stock options for the
                                                                                                                                                   three
months ended March 31, 2016.




                                                                                                                                                           Page 2 of 6
                        Case 16-11236-BLS                   Doc 1       Filed 05/18/16          Page 42 of 43

Code Rebel Corporation                                                                                                  Exhibit [G]

Case Title, Case Number                    Nature of Case                       Court or Agency's name and address      Status of Case

File No. 500-1                             Order of Suspension of Trading       Securities and Exchange Commission      Pending

                                           Class Action complaint tor
                                           Violations of the Federal Securities Unites States District Court Southern
Civil Action No. l:16-cv-03492-AT          Laws                                 District of New York                    Pending


                                           Class Action for Violations of the
Multiple Additional Legal Investigations   Federal Securites Laws                                                       Pending

Nasdaq Delisting                                                                Nasdaq                                  Pending
                   Case 16-11236-BLS               Doc 1   Filed 05/18/16         Page 43 of 43



Code Rebel Corporation                                     Exhibit [H]



                                                                                                             % of
                                                                                                             interest, if
Name                     Address                           Position and nature of any interest               any

                                                           Chairman and Chief Executive Officer and
Arben Kane               77 Ho'okele Street Suite 101      Shareholder, 1,800,000 shares                            12.7%
                         Kahului, HI 96732
                                                           Chief Financial Officer and Secretary, 400,627
Reid Dabney              2941 Burdeck Drive                options
                         Oakland, CA 94602
                                                           Vice President, Chief Technology Officer and
Volodymyr Bykov          206 Leilani Drive #A              Director, 1,500,000 shares                              10.6%
                         Wailuku, HI 96793

James Canton             2084 Union St.                    Director, 375,000 of shares of restricted stock           2.7%
                         San Francisco, CA 94123
David Dwelle             12970 Earhart Avenue              Director
                         Auburn, CA 95602
